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                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

ATLANTIC SPECIALTY INSURANCE CO.                            CASE NO. 17-cv-9318
AND EXCESS UNDERWRITERS
SUBSCRIBING SEVERALLY TO POLICY
NO. TMU-407387                                              JUDGE: ELDON E. FALLON

              Plaintiff,                                    MAG.: JANIS VAN MEERVELD

v.

PHILLIPS 66 COMPANY,

              Defendant.


             PHILLIPS 66 COMPANY’S STATEMENT OF MATERIAL FACTS
                   NOT IN DISPUTE IN SUPPORT OF ITS MOTION
                       FOR PARTIAL SUMMARY JUDGMENT

            Pursuant to Local Rule 56.1, Phillips 66 Company (“Phillips 66”) sets forth the

following material facts that are not genuinely disputed in support of its Motion for

Partial Summary Judgment that Atlantic Specialty Insurance Company (“Atlantic”) owes

a duty to defend Phillips 66 in the Calloway and Jambon Suits:

      I.          Atlantic’s Obligations Under the Policy

            (1)      Atlantic issued Policy No. B5JH9075516 (“Atlantic Policy”) to Blanchard

as a Named Insured.1 The Atlantic Policy has a policy period of October 1, 2016 to

October 1, 2017.2


1
    Exhibit B, Atlantic Policy, at BCI-000477.
2
    Exhibit B, Atlantic Policy, at BCI-000477.


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           (2)      The Atlantic Policy contains the following provision:



                                                                                   3


           (3)      The Atlantic Policy contains the following definitions:

                                                                                       4




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3
    Exhibit B, Atlantic Policy, at BCI-000480.
4
    Exhibit B, Atlantic Policy, at BCI-000500.
5
    Exhibit B, Atlantic Policy, at BCI-000508.
6
    Exhibit B, Atlantic Policy, at BCI-000480.
7
    Exhibit B, Atlantic Policy, at BCI-000501 – 502.
8
    Exhibit B, Atlantic Policy, at BCI-000505.
9
    Exhibit B, Atlantic Policy, at BCI-000480.


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       II.         Blanchard’s Obligations Under the Master Services Agreement

             (4)      On November 17, 2016, Phillips 66 and Blanchard entered into USA

Master Services Agreement No. CW2291283 (“MSA”).11

             (5)      The MSA contains the following provisions:




                                                  ****




                                                  ****




                                                  ****




10
     Exhibit B, Atlantic Policy, at BCI-000505.
11
  Exhibit A, Declaration of Mr. Todd Denton, and attachment A-1, USA Masters Services Agreement with
Blanchard.


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                                                                                                       12



     (6) The MSA contains the following definitions:




                                                                                                       13




12
  Exhibit A, Declaration of Mr. Todd Denton, and attachment A-1, USA Masters Services Agreement with
Blanchard.


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       III.        The Service Order

             (7)      On January 26, 2017, an affiliate of Phillips 66 issued Service Order No.

4523432638 (“Service Order”) to Blanchard.14 The Service Order stated that it was

“issued in accordance with the terms and conditions in Master Service Agreement

CW2291283,” and required “Blanchard Contractors to provide labor and materials for

RV60 ILI tool runs” regarding the “RV-60 (VP01) 20in Pipeline Pigging Project”

(“Pipeline”) in Paradis, Louisiana.15

       IV.         The Incident

             (8)      On February 9, 2017, an explosion and fire occurred on a segment of the

Pipeline near the “Williams Discovery” plant.16

       V.          The Calloway Suit

             (9)      On June 23, 2017, Desmond Calloway (“Mr. Calloway”), an employee of

Blanchard, filed suit against Phillips 66 in the District Court of Harris County, Texas,

Civil Action Number 2017-42198, alleging that he sustained personal injuries, including

severe burns, while performing maintenance on the Pipeline at the time of the explosion

and fire (“Calloway Suit”).17




13
  Exhibit A, Declaration of Mr. Todd Denton, and attachment A-1, USA Masters Services Agreement with
Blanchard.
14
     Exhibit A, Declaration of Mr. Todd Denton, ¶ 1, and attached A-2, Service Order.
15
     Exhibit A, Declaration of Mr. Todd Denton, ¶ 1, and attached A-2, Service Order.
16
     Complaint (Doc. 1) at ¶ 12; Exhibit A, Declaration of Mr. Todd Denton, ¶¶ 1, 3.
17
     Complaint (Doc. 1) at ¶ 13; Exhibit C, Calloway Petition.


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             (10)   Mr. Calloway’s petition alleged that Phillips 66 was liable for the negligent

acts of its employees, agents, or representatives for the injuries he sustained as a result of

the explosion and fire.18

             (11)   A true and correct copy of Mr. Calloway’s petition is attached hereto as

Exhibit C.

       VI.      The Jambon Suit

             (12)   On June 28, 2017, Jacob Jambon (“Mr. Jambon”), an employee of

Blanchard, intervened in the Calloway Suit and asserted claims for personal injuries,

including severe burns, against Phillips 66 which he alleges to have incurred while

performing maintenance on the Pipeline on February 9, 2017 (“Jambon Suit”).19

             (13)   Mr. Jambon’s petition alleged that Phillips 66, acting individually, or by

and through agents, officers, directors, servants, and employees, was negligent and,

therefore, liable for the injuries he sustained as a result of the explosion and fire.20

             (14)   A true and correct copy of Mr. Jambon’s petition is attached hereto as

Exhibit D.

       VII.     No Unambiguous Exclusion of Coverage under the Atlantic Policy.

             (15)   The allegations in Mr. Calloway’s and Mr. Jambon’s petitions are

not unambiguously excluded from coverage under the Atlantic Policy. 21



18
     Exhibit C, Calloway Petition, at ¶ 18.
19
     Complaint (Doc. 1) at ¶ 14; Exhibit D, Jambon Petition.
20
     Exhibit D, Jambon Petition, at ¶¶ 17, 19 – 27.
21
     See Exhibits A, C, & E, Atlantic Policy, Calloway Petition, Jambon Petition.


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                                     Respectfully Submitted:

                                       /s/ Michael deBarros
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                              CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing was filed electronically

with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all

counsel of record by operation of the Court’s electronic filing system.


         Baton Rouge, Louisiana, this 10th day of April, 2018.


                                      /s/ Michael deBarros
                                        Michael J. deBarros




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